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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,               )      CR. NO. 23-00017 HG-02
                                        )
                                        )
                 Plaintiff,             )
                                        )
           vs.                          )
                                        )
MELVIN JONES (02),                      )
                                        )
                 Defendant.             )
                                        )
                                        )

 ORDER DENYING DEFENDANT’S MOTION IN LIMINE NO. 2 ENTITLED “RE:
 COMPLETE CONFRONTATION OF COOPERATING INFORMANT WITNESSES” (ECF
                             No. 119)


      On November 20, 2024, Defendant Melvin Jones filed a Motion

in Limine requesting that his counsel be permitted to cross-

examine the Government’s cooperating witnesses about their plea

agreements and potential sentences, including the sentencing

guidelines and potential charges they may have faced prior to

pleading guilty.        (ECF No. 119).

      On November 27, 2024, the Government filed its Opposition.

(ECF No. 128).

      On December 16, 2024, the Court held a hearing on the

Motion.   (ECF No. 166).

      Defendant Melvin Jones’s Motion in Limine #2 (ECF No. 119)

is DENIED.



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                                 ANALYSIS


      Trial courts may limit cross-examination of a Government

witness where the inquiry:

      (1)   is of little relevance;

      (2)   may mislead the jury or cause confusion;

      (3)   is outweighed by other legitimate interests; and

      (4)   is not necessary for the jury to properly assess the
            credibility of the witness.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986); United States

v. Sua, 307 F.3d 1150, 1153 (9th Cir. 2002).

      Trial judges retain wide latitude insofar as the

Confrontation Clause is concerned to impose reasonable limits on

cross-examination of witnesses.        United States v. Larson, 495

F.3d 1094, 1102 (9th Cir. 2007) (en banc).

      Limits may be placed on “cross-examination based on concerns

about, among other things, harassment, prejudice, confusion of

the issues, the witness’ safety, or interrogation that is

repetitive or only marginally relevant.”              Van Arsdall, 475 U.S.

at 679.

      The United States Supreme Court has explained that “the

Confrontation Clause guarantees an opportunity for effective

cross-examination, not cross-examination that is effective in

whatever way, and to whatever extent, the defense may wish.”

Delaware v. Fensterer, 474 U.S. 15, 20 (1985) (per curiam).


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I.    Courts May Place Reasonable Limits On The Cross-Examination
      Of Cooperating Witnesses


      The Ninth Circuit Court of Appeals addressed the issue of

limitations on the cross-examination of a cooperating witness in

United States v. Larson, 495 F.3d 1094, 1103 (9th Cir. 2007) (en

banc).   In Larson, the district court limited defense counsel’s

cross-examination of one of the cooperating witnesses.                  Id.   The

trial court allowed defense counsel to adequately explore the

cooperating witness’s motivation to lie.              Id.    The trial court

ruled that further inquiry regarding the witness’s potential

sentence was irrelevant.      Id.

      Upon review by the Ninth Circuit Court of Appeals en banc in

the Larson case, the appellate court found that the defendant’s

Confrontation Clause rights were not violated.                Id.

      Subsequent rulings by the Ninth Circuit Court of Appeals

have explained that the district court may impose reasonable

limits on inquiries into the possible sentences of cooperating

witnesses, specifically when the witness is a co-conspirator.

      For example, in United States v. Farrar, 2022 WL 212835, *2

(9th Cir. Jan. 24, 2022), the appellate court explained that the

district court properly limited the defendant’s cross-examination

of a drug trafficking co-conspirator about the applicable

mandatory minimum sentence he may have faced at sentencing.                   The

appellate court explained that the defendant was able to ask the


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co-conspirator if he faced a “substantial” sentence if he had not

cooperated with the Government in order to probe his incentive to

testify.   Id.   The Ninth Circuit Court of Appeals ruled that any

probative value in asking the co-conspirator about mandatory

minimum sentences was outweighed by unfair prejudice in

disclosing to the jury the possible sentence the defendant might

face if found guilty.      Id.

      It is inappropriate for a jury to consider or to be informed

of the sentencing consequences of their verdict.                United States

v. Frank, 956 F.2d 872, 879 (9th Cir. 1991).                Information about

potential sentences of the defendant may lead to jury

nullification.

      A district court may properly limit cross-examination of a

cooperating witness about his possible mandatory-minimum sentence

when such testimony may inform the jury about the penalty the

defendant may face for the same charge.              United States v. Tones,

759 Fed. Appx. 579, 585 (9th Cir. 2018); see also United States

v. Mondragon, 747 Fed. Appx. 605, 606 (9th Cir. 2019).


II.   Cross-Examination Of The Government’s Cooperating Witnesses


      The Confrontation Clause guarantees criminal defendants the

right to cross-examine government witnesses regarding their

biases and motivations to lie, but trial judges retain wide

latitude to impose reasonable limits on such cross-examination.


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See United States v. Nickle, 816 F.3d 1230, 1235 (9th Cir. 2016).

Limitations may be imposed where other legitimate interests

outweigh the defendant’s interest in presenting the evidence so

long as the jury receives sufficient information to assess the

witness’s credibility.       United States v. Beardslee, 197 F.3d 378,

383 (9th Cir. 1999).

      The United States Supreme Court has explained that

“providing jurors sentencing information invites them to ponder

matters that are not within their province, distracts them from

their factfinding responsibilities, and creates a strong

possibility of confusion.”       Shannon v. United States, 512 U.S.

573, 579 (1994).        As a general matter, “jurors are not informed

of mandatory minimum or maximum sentences, nor are they

instructed regarding probation, parole, or the sentencing range

accompanying a lesser included offense.”               Id. at 586-87.

      In this case, there is an added risk of jury nullification

because the main cooperating witness, Earl Baker, has pleaded

guilty to the same conspiracy with which Defendant Jones is

charged.   Larson, 495 F.3d at 1105.             Mr. Baker was specifically

listed as a co-conspirator in the Superseding Indictment.

Examination of co-conspirators about potential sentences is

particularly prejudicial because it may lead to jury

nullification where the charges are similar or the same as the

charges faced by the defendant at trial.               Larson, 495 F.3d at


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1105; United States v. Alvarez, 987 F.2d 77, 82-83 (1st Cir.

1993); United States v. Pressley, 654 Fed. Appx. 591, 592 (4th

Cir. 2016) (per curiam).

      Here, Defendant may properly inquire with the Government

cooperating witnesses about their understanding as to the benefit

of their cooperation with the Government and their motivation for

testifying.    Evidence of their presentence reports, sentencing

range information in their plea agreements, and cross-examination

concerning the United States Sentencing Guidelines, guideline

calculations, or possible sentencing ranges is not permitted.

United States v. Williams, 39 Fed. Appx. 541, 542 (9th Cir.

2002).

      The Government witnesses may be cross-examined about their

understandings as to the benefits they may have received from

their plea agreements.      Evidence that the cooperating witnesses

entered into a plea bargain with the Government provides

Defendant with a basis to apprise the jury of the biases and

motivations of the witnesses.          Larson, 495 F.3d at 1106-07; Sua,

307 F.3d at 1153; Trent, 863 F.3d at 706.                Defendant Jones may

inquire into the cooperating witnesses’ motivation to cooperate.

Defendant may ask the cooperating witnesses if they believe they

would face a “substantial” sentence if they did not cooperate.

      Defendant may not, however, inquire about possible

sentencing guideline ranges, possible mandatory minimum


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sentences, or about statutory minimum or maximum sentences.               Such

inquiries are of little probative value and are otherwise unduly

prejudicial, confusing to the jury, and may result in jury

nullification.     Van Arsdall, 475 U.S. at 679;         Farrar, 2022 WL

212835, at *2; see United States v. Rushin, 844 F.3d 933, 939

(11th Cir. 2016); United States v. Trent, 863 F.3d 699, 704-06

(7th Cir. 2017).


                                CONCLUSION


      Defendant Melvin Jones’s Motion in Limine No. 2 Entitled

“RE: Complete Confrontation of Cooperating Informant Witnesses”

(ECF No. 119) is DENIED.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaii, December 18, 2024.




United States v. Melvin Jones, Criminal No. 23-00017 HG-02; ORDER
DENYING DEFENDANT’S MOTION IN LIMINE NO. 2 ENTITLED “RE: COMPLETE
CONFRONTATION OF COOPERATING INFORMANT WITNESSES” (ECF No. 119)
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